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           EXHIBIT 47
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, et al.

         Plaintiffs,
                                                CIVIL ACTION
         v.
                                                FILE NO. 1:17-cv-2989-AT
    BRAD RAFFENSPERGER, et al.,

         Defendants.


      BRIEF IN SUPPORT OF STATE DEFENDANTS’ 1 RENEWED
    MOTION TO DISMISS CURLING PLAINTIFFS’ 2 THIRD AMENDED
         COMPLAINT AND COALITION PLAINTIFFS’ 3 FIRST
                  SUPPLEMENTAL COMPLAINT

        Plaintiffs do not like technology in voting. They believe hand-marked

paper ballots are the only valid election system. That is a policy position they

are free to endorse but it is an outrageous position as a matter of

constitutional law, especially because the Constitution specifically reserves

most election-administration decisions to States. After failing to persuade the



1 State Defendants are Defendants Secretary of State Brad Raffensperger
and State Election Board Members David J. Worley, Rebecca N. Sullivan,
Anh Le, and Seth Harp.
2 Plaintiffs Donna Curling, Donna Price and Jeffrey Schoenberg are referred

to herein as the “Curling Plaintiffs.
3 Plaintiffs Coalition for Good Governance, Laura Digges, William Digges III,

Ricardo Davis, and Megan Missett as the “Coalition Plaintiffs.”
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the current GEMS Servers or GEMS Databases. 14 [Doc. No. 556.]; see

also [Doc. 571-1 at 46:18-23].

      The Dominion Election Management System (EMS) is completely

replacing the GEMS/DRE system, the system currently used to build ballots,

receive votes, and tabulate those votes. [Doc. 556 at 2.] The Dominion BMD

system, which includes an electronic ballot-marking device, a printer, and an

optical scanner connected to a locked ballot box, is replacing DREs.

KNOWink Poll Pads, which will receive text-file data from ENET after the

security scans required by Georgia law is completely replacing the

ExpressPoll system.




14There are at least five different systems that are part of the overall election
process in Georgia. Three of those systems do not connect to the BMD voting
system and are not changing: (1) The voter registration database (ENET),
which is used by county registrars to maintain and update voter registration
records. A flat-text extract from ENET is loaded into pollbooks for each
election, but this system does not connect to the Dominion BMD system. (2)
The My Voter Page (MVP), which is a separate, outward-facing system used
to provide information to voters and does not input any information into
ENET or any other part of the Georgia election system. (3) The Online Voter
Registration system (OLVR), which is a separate system used by voters to
register to vote or update their voter registration by sending information to
the local registrar for review. OLVR does not input any information directly
into ENET or any other part of the Georgia election system—any applications
or changes submitted by voters are sent to the county registrar for
processing.
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      Plaintiffs do not allege any harms different than those that

theoretically could occur in their preferred system. Hand-marked ballots are

prone to overvotes, and stray marks or voter confusion can cause problems in

counting hand-marked paper ballots. [Doc. 472-1 at ¶¶ 36, 48, 52]. Hand-

marked paper ballots are more susceptible than BMDs to fraud and

manipulation. [Id. at ¶¶ 40, 45].

             ARGUMENT AND CITATION TO AUTHORITY

   Plaintiffs’ claims challenging DREs are moot.

      Plaintiffs continue to challenge DREs in their Amended and

Supplemental Complaints even though Georgia will not use DREs after 2019.

The DRE claims are moot, particularly if Plaintiffs assert that the BMD

claims are ripe.

      The mootness doctrine arises from “[t]he Constitution's case-or-

controversy limitation on federal judicial authority, Art. III, § 2.” See Friends

of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 168

(2000). A claim becomes moot when “[T]he issues presented are no longer

‘live’ or the parties lack a legally cognizable interest in the outcome.” De La

Teja v. United States, 321 F.3d 1357, 1362 (11th Cir. 2003). A claim can

become moot at any point in the litigation. See Arizonans for Official English

v. Arizona, 520 U.S. 43, 45 (1997). One exception to the mootness doctrine,

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the “‘capable of repetition yet evading review’” exception, only applies when:

“(1) the challenged action is in its duration too short to be fully litigated prior

to cessation or expiration, and (2) there is a reasonable expectation that the

same complaining party will be subject to the same action again.” See Arcia

v. Fla. Sec'y of State, 772 F.3d 1335, 1343 (11th Cir. 2014). But if a defendant

voluntarily ceases engaging in the challenged act, and “the allegedly

wrongful behavior could not reasonably be expected to recur,” a claim

regarding such conduct is moot and not subject to this exception. See Friends

of the Earth, Inc., 528 U.S. at 170; Arcia v. Fla. Sec'y of State, 772 F.3d 1335,

1343 (11th Cir. 2014).

      When a state engages in “comprehensive election reforms,” as Georgia

has through H.B. 316 and the procurement of a new voting system, a court

“cannot conclude that the Georgia Legislature would go back to the old

electoral system if [the case] were dismissed as moot.” United States v.

Georgia, 778 F.3d 1202, 1205 (11th Cir. 2015). This is because “voluntary

cessation by a government actor gives rise to a rebuttable presumption that

the objectionable behavior will not recur.” Atheists of Fla. Inc. v. City of

Lakeland, 713 F.3d 577, 594 (11th Cir. 2013).

      Not only has the State enacted legislation mandating the replacement

of DREs, O.C.G.A. § 21-2-300(a)(2); [Doc. 357-1 at 13; Doc. 472 at 28; Doc. 579
                                           13
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at 8], it is in fact replacing the DREs for elections in 2020. [Doc. 579 at 8-9]. 15

The Court also has prohibited the State’s use of “the GEMS/DRE system in

conducting elections after 2019.” [Doc. 579 at 148]. By the time this motion is

fully briefed, DREs will be used only for December runoff elections—and then

never again. As indicated in the August 27, 2019, teleconference, the Court is

wary of getting “involved with this messiness on a part of the [DRE] system

that is not going to proceed.” [Doc. 590 at 28-29 (emphasis added)].

      Plaintiffs cannot have it both ways. By filing their supplemental and

amended pleadings, which include new claims challenging the

constitutionality of BMDs, they assert that the claims regarding BMDs are

now ripe. See generally [Docs. 672 & 628 (challenging BMDs)]. Ripeness

requires a determination “whether there is sufficient injury to meet Article

III's requirement of a case or controversy and, if so, whether the claim is

sufficiently mature, and the issues sufficiently defined and concrete, to

permit effective decisionmaking by the court.” Cheffer v. Reno, 55 F.3d 1517,

1524 (11th Cir. 1995) (internal citations and quotations omitted). Here, the

State is rapidly retiring DREs and replacing them with BMDs. [Doc. 579 at


15In fact, the State is currently seeking to remove all parts of the GEMS/DRE
system from counties. [Doc. 616-1 at ¶ 12]. Were it not for Plaintiffs’ litigation
and baseless accusations of spoliation and bad faith, this already would be
occurring.
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148]. If Plaintiffs’ claims as to the BMDs are now “mature,” “defined,” and

“concrete,” Cheffer, 55 F.3d at 1524, the future use of DREs is certainly “no

more than a mere possibility.” United States v. W.T. Grant Co., 345 U.S. 629,

633 (1953). Accordingly, Plaintiffs’ DRE claims are now moot.


      Plaintiffs’ Amended and Supplemental Complaints fail to state
      a claim or otherwise present improper issues to this Court.

      Plaintiffs’ new Complaints fail to state a claim for relief and must be

dismissed. The Eleventh Amendment bars retrospective DRE claims, and the

BMD claims improperly ask the Court to adjudicate policy decisions.

Similarly, Plaintiffs’ procedural due process claims are not sufficiently pled

and must be dismissed for failure to state a claim. Finally, Plaintiffs’ laundry

list of statutory assertions do not amount to any federal violation and thus

either do not state a claim or are improperly before the Court.

   A. Curling Plaintiffs’ retrospective DRE claims are barred by the Eleventh
      Amendment and Coalition Plaintiffs’ BMD claims extend beyond the
      scope of Ex Parte Young.

      Plaintiffs’ Complaints raise different Eleventh Amendment questions

than those the Court previously addressed. The Eleventh Amendment bars

several of the new counts, because Plaintiffs’ requested relief: (1) seeks

redress of past harm; (2) is drastically different and more comprehensive

than before; and (3) impermissibly seeks removal of the State’s constitutional

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authority to oversee the details of elections. Accordingly, this Court must

again review the application of the Eleventh Amendment to this case.

      First, in Counts I and II of their Amended Complaint, Curling

Plaintiffs still seek retrospective declaratory relief regarding use of the “DRE

Voting System” in the “Relevant Previous Elections.” See [Doc. 627 at ¶¶

98(a), 110, 112(a)]. The Eleventh Amendment bars such claims for

retrospective relief. Green v. Mansour, 474 U.S. 64, 68 (1985). Plaintiffs here

are seeking relief that would only indirectly encourage compliance with

federal law through deterrence which is “insufficient to overcome the dictates

of the Eleventh Amendment.” Fla. Ass’n of Rehabilitation Facilities, Inc. v.

State of Fla. Dep’t of Health and Rehabilitative Svcs., 225 F.3d 1208, 1219

(11th Cir. 2000). Moreover, just as in Green, the State’s statutory changes

have eliminated any alleged ongoing violation of constitutional rights based

on the DRE System. Green, U.S. 474 at 74. This is doubly true where, as

here, any continuing DRE claims have not been finally adjudicated and are

moot. See, supra Section I. These counts must be dismissed.

      Second, Coalition Plaintiffs’ Supplemental Complaint now also requests

relief beyond the scope of that permitted by Ex Parte Young, 209 U.S. 123

(1908), implicating special state sovereignty interests. Specifically, Coalition

Plaintiffs seek a mandatory injunction to “employ a properly certified system
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using hand marked paper ballots as the standard method of voting” with

specific “post-election, precertification audits” and tabulation of all votes

using optical scanners. See generally [Doc. 628, Prayer for Relief]; see also,

e.g., Id. ¶¶ B, E, F, H. The fiction of Ex Parte Young, however, “requires

careful consideration of the sovereign interests of the State.” Verizon

Maryland, Inc. v. Public Service Commission of Maryland, 535 U.S. 635, 649

(2002) (Kennedy, J., concurring); see also Idaho v. Coeur d’Alene Tribe of

Idaho, 521 U.S. 261, 281–288 (1997). The relief sought here implicates special

sovereignty interests of the State by seeking judicial legislation in an area

specifically reserved to the states by the Constitution. Washington State

Grange v. Washington State Republican Party, 552 U.S. 442, 451 (2008).

      The Eleventh Circuit acknowledged this exact issue in this case, noting

Plaintiffs were not seeking “a court order directing the precise way in which

Georgia should conduct voting,” only relief against a system they alleged to

be unconstitutionally unsecure. Curling v. Secretary of Georgia, 761 F. App’x

927, 934 (2019). 16 Now, however, Plaintiffs seek relief that reaches far

deeper into the sovereignty interests of the state to the point of choosing one


16State Defendants do not dispute that Ex Parte Young generally permits
cases to proceed for prospective relief against a state to enjoin allegedly
unconstitutional conduct, indeed the Eleventh Circuit in this case has held as
much. Curling, 761 F. App’x at 927.
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auditable paper-ballot system over another. Compare [Doc. 226, pp. 67–68]

with [Doc. 628, pp. 69–72]. As such, Coalition Plaintiffs’ requested relief is

impermissible.

      Even if this Court finds that Coalition Plaintiffs’ Supplemental

Complaint does not implicate the special sovereignty interests under Ex

Parte Young, states retain constitutional and regulatory authority to ensure

the integrity and efficiency of elections. U.S. Const. Art I, § 4, cl. 1; Storer v.

Brown, 415 U.S. 724, 730 (1974); see also Wexler v. Anderson, 452 F.3d 1226,

1232 (11th Cir. 2006). Here, Coalition Plaintiffs’ specifically tailored relief

asks this Court to oversee the administrative details of the election. There is

no constitutional basis for the Court to do so. Pettengill v. Putnam County R-1

Sch. Dist., 472 F.2d 121, 122 (8th Cir. 1973).

      “[I]t is the job for democratically elected representatives to weigh the

pros and cons of various balloting systems,” not the federal courts. Weber, 347

at 1107. “[T]he framers of the Constitution intended the States to keep for

themselves, as provided by the Tenth Amendment, the power to regulate

elections.” Gregory v. Ashcroft, 501 U.S. 452, 461–62 (1991) (quoting

Sugarman v. Dougall, 413 U.S. 634, 647 (1973)); see also Favorito v. Handel,

285 Ga. 795, 796 (2009) (noting “states are entitled to broad leeway in

enacting reasonable, even-handed legislation to ensure that elections are
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carried out in a fair and orderly manner”) (citing Wexler, 452 F.3d at 1232)).

Additionally, the relief Coalition Plaintiffs request deprives the State of its

authority to “effectuat[e] statutes enacted by representatives of its people.”

New Motor Vehicle Bd. of Cal. V. Orrin W. Fox Co., 434 U.S. 1345, 1351

(1977). It also seeks to replace that sovereign authority with a policy decision

properly reserved to the state legislature and that the federal judiciary is ill-

equipped to make. See Vermont Yankee Nuclear Power Corp. v. Natural

Resources Defense Council, Inc., 435 U.S. 519, 557–558 (1978) (refusing to

reexamine policy questions resolved in Congress and state legislatures). This

Court similarly should decline the invitation to second-guess the legislative

process resulting in the implementation of BMD-marked paper ballots.

   B. Coalition Plaintiffs’ Procedural Due Process allegations fail to state a
      claim and must be dismissed.

      Procedural due process guarantees that the state may not deprive a

person of life, liberty, or property without providing “appropriate procedural

safeguards.” Daniels v. Williams, 474 U.S. 327 (1986). “A §1983 action

alleging a procedural due process clause violation requires proof of three

elements: a deprivation of a constitutionally-protected liberty or property

interest; state action; and constitutionally inadequate process.” Doe v. Fla.




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Bar, 630 F.3d 1336, 1342 (11th Cir. 2011) (quoting Cryder v. Oxendine, 24

F.3d 175, 177 (11th Cir. 1994)).

      At the outset, State Defendants are at a disadvantage in responding to

any procedural due process claims alleged by Plaintiffs. 17 Coalition Plaintiffs

reallege and incorporate by reference the entirety of their previous

allegations into their procedural due process claims, leaving State

Defendants to try to divine which allegations support the now-assumed

procedural due process claims. [Doc. 628 ¶ 238]. Consequently, Coalition

Plaintiffs’ Supplemental Complaint is a prototypical shotgun-style pleading

that is universally disfavored. See Chudasama v. Mazda Motor Corp., 123

F.3d 1353, 1359 n.9 (11th Cir. 1997); see also Chapman v. Al Transport, 229

F.3d 1012, 1027 (11th Cir. 2000) (“We have frequently railed about the evils

of shotgun pleadings and urged district courts to take a firm hand and

whittle cases down to the few triable claims . . . .”).


17 Curling Plaintiffs also assert violations of Due Process under the
Fourteenth Amendment. The Fourteenth Amendment’s Due Process Clause,
of course, provides two types of protection: (1) substantive due process; and
(2) procedural due process. McKinney v. Pate, 20 F.3d 1550, 1555 (11th Cir.
1994) (en banc). Unlike Coalition Plaintiffs, Curling Plaintiffs have not
identified whether they seek relief under procedural or substantive due
process of the Fourteenth Amendment. See [Doc. 627 ¶¶ 91–98, 113–119].
Should the Court determine Curling Plaintiffs’ Amended Complaint
encompasses a procedural due process claim, the argument contained herein
applies with equal force.
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      Nonetheless, taking Coalition Plaintiffs’ allegations as presented, they

have not sufficiently alleged the first element—deprivation of a

constitutionally protected liberty or property interest. See Doe, 630 F.3d at

1342. Coalition Plaintiffs’ procedural due process claim is apparently

premised on Georgia’s decision to implement a BMD balloting system as a

replacement for DREs. [Doc. 628 ¶¶ 238-245]. But there is no state-created

liberty or property interest in a preferred choice of voting systems. See, e.g.

Favorito, 285 Ga. at 797–798. Even assuming a liberty or property interest

existed for a preferred voting system, there is no deprivation of that interest,

given the State’s no-excuse absentee voting system by hand-marked paper

ballots. Accordingly, Plaintiffs have not—and cannot—establish a liberty

interest, nor a deprivation thereof.

      Further, even if Coalition Plaintiffs could articulate a constitutionally

protected liberty interest under procedural due process, the Complaint fails

to allege they have been subjected to inadequate process. Procedural due

process violations require the state refuse to provide due process, McKinney,

20 F.3d at 1562, and Coalition Plaintiffs have not alleged the absence of state

remedies, as is their burden. Searcy v. Prison Rehab Industries & Ent, Inc.,

746 Fed. Appx. 790, 795 (11th Cir. 2018). The availability of a state remedy

necessarily prevents Plaintiffs from maintaining a procedural due process
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claim as a matter of law. See Horton v. Bd. Of Cty. Comm’rs, 202 F.3d 1297,

1300 (11th Cir. 200). Instead, Plaintiffs appear to have pled the opposite,

acknowledging that they have sought recertification under Georgia law. [Doc.

628, pp. 55–56]. Accordingly, Coalition Plaintiffs’ procedural due process

allegation fails to state a claim and must be dismissed.

   C. Plaintiffs’ state law claims, smuggled into this case without clear legal
      grounds, fail to state a claim and must be dismissed.

      Plaintiffs seek adjudication of numerous state-law issues without

stating a claim this Court can address. Curling Plaintiffs list eighteen

different provisions of Georgia’s Constitution, Official Code, and Compilation

of Rules and Regulations, [Doc. 627 ¶ 142], and Coalition Plaintiffs similarly

cite various provisions of state law regarding certification. See, e.g., [Doc. 628,

24–25, 41–45]. As a preliminary matter, to the extent the alleged state

statutory violations do not amount to vindication of a federal right, they fall

outside Ex Parte Young and are thus inapposite. See, infra, Section IV. And

in any event, the allegations are not sufficiently pled and the statutes do not

create a private right of action. Accordingly, any state law claims stated in

the Complaints must be dismissed.

      Curling Plaintiffs’ apparent state law claims contained in Paragraph

142 of [Doc. 627] do not meet the basic requirements of pleading under


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federal law. The conclusory enumeration of various statutes does not amount

to a short and plain statement showing the pleader is entitled to relief.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Instead, they amount to only

“‘naked assertions’ devoid of ‘further factual enhancement.’” Id. (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 557). This conclusory prayer for

relief is doubly confounding given that Plaintiffs ostensibly seek to prevent

implementation of the voting system provided for by that statute (Counts I-

IV) but pray this Court enforce compliance with those same statutes. Given

this lack of clarity and coherence, the paragraph seems to place state law

claims—which do not provide a private right of action—before this Court.

      Similarly, Coalition Plaintiffs’ allegations about certification are simply

misplaced and inaccurate, but, in any event, do not amount to a violation of

federal law. As a preliminary matter, the BMD-system certification complies

with the only set of guidelines used by any election system in the country.

Regardless, even if it were somehow defective, Coalition Plaintiffs cite

nothing for the proposition that a lack of compliance with state law amounts

to a violation of federal rights. Nor do Coalition Plaintiffs assert the grant of

any private cause of action under state law.




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      There is no subject matter jurisdiction over Plaintiffs’ new
      claims challenging Georgia’s BMD Voting System because
      Plaintiffs lack standing.

      The change from challenging DREs to challenging Georgia’s new paper-

ballot system requires another look at Plaintiffs’ standing, because the use of

paper ballots and required audits completely changes any potential injuries

alleged by Plaintiffs. As this Court knows, the Article III standing doctrine

limits the category of litigants empowered to maintain a lawsuit in federal

court and redress a legal wrong, Spokeo, Inc. v. Robins, ––– U.S. ––––, 136

S.Ct. 1540, 1547 (2016), it is the threshold question in every federal case.

Warth v. Seldin, 422 U.S. 490, 498 (1975). In order to establish Article III

standing, the plaintiff must have (1) suffered an injury in fact (2) that is

fairly traceable to the challenged conduct of the defendants; and (3) that is

likely to be redressed by a favorable judicial decision. Spokeo, 136 S.Ct. at

1548. The plaintiff, as the party invoking federal jurisdiction, bears the

burden of establishing these elements, FW/PBS, Inc. v. Dallas, 493 U.S. 215,

231 (1990), and at the pleading stage, the plaintiff must “clearly . . . allege

facts demonstrating” each element of standing. Warth, 422 U.S. at 518.

   A. Plaintiffs fail to demonstrate a concrete and particularized injury.

      To establish injury in fact, a plaintiff must show that he or she suffered

“an invasion of a legally protected interest” that is “concrete and

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particularized” and “actual or imminent, not conjectural or hypothetical.”

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). For an injury to be

particularized, it must affect the plaintiff in a distinct way. Whitmore v.

Arkansas, 495 U.S. 149, 155 (1990).

      Plaintiffs have not sufficiently alleged the injury-in-fact element as to

BMDs. The “threat of a prospective injury must be real and immediate and

not premised upon the existence of past injuries alone.” Gaylor v. Hamilton

Crossing CMBS, 582 F. App’x 576, 579 (6th Cir. 2014) (citing City of Los

Angeles v. Lyons, 461 U.S. 95, 102-03 (1983)). “It is the reality of the threat . .

. not the plaintiff's subjective apprehensions . . . the emotional consequences

of a prior act simply are not a sufficient basis for an injunction absent a real

and immediate threat of future injury by the defendant.” Lyons, 461 U.S. at

107 n. 8. Plaintiffs fail to allege that they are under threat of suffering a

prospective injury that is “real and immediate” regarding Georgia’s new BMD

voting system. Summers, 555 U.S. at 493 (emphasis added). While Plaintiffs

have detailed a host of factual allegations regarding prior injuries that they

have allegedly suffered as a result of the DREs, [See Doc. No. 627, pp. 11-17],

these purported injuries are insufficient to demonstrate that Plaintiffs are

under threat of future injury from BMDs. Lyons, 461 U.S. at 102-03.



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      Plaintiffs’ BMD allegations are replete with hedging language,

illustrating their ability to demonstrate a concrete, particularized, and

imminent injury-in-fact. See, e.g., [Doc. No. 627, pp. 23–28]. For example,

Plaintiffs allege that that the BMDs “remain susceptible to manipulation,”

are “vulnerable to intentional [and] unintentional forms of manipulation,”

and that these vulnerabilities “could cause” BMDs to malfunction or

improperly tabulate votes. Id. In sum, Plaintiffs injury allegations are that:

(1) a malicious hacker might hack BMDs; (2) voters might not review the

ballot; (3) the optical-scan unit might incorrectly count votes; (4) post-election

audits of the ballot or an election challenge might not catch any errors. Id.

Plaintiffs have complete control over whether they are “injured” because they

can review their selections on their BMD-marked paper ballot. This alleged

generalized fear that malicious activity might occur is insufficient to confer

standing. Clapper v. Amnesty Int’l USA, 568, U.S. 398, 410 (2013) (rejecting

“reasonable likelihood” of injury to meet the injury-in-fact standard).

      Plaintiffs cannot rely on their previous claims about DREs and simply

“bootstrap” their way to standing for their BMD allegations. Georgia's

transition to the new BMD system creates a stopgap that necessarily limits

Plaintiffs’ ability to demonstrate that there is a real or immediate threat of

prospective injury as to that new system. Accordingly, because Plaintiffs’
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theory of prospective harm relies on a string of speculative actions, their

claims regarding the BMDs do not reach the level of imminence required to

confer standing on a plaintiff seeking injunctive and declaratory relief in

federal court. See Heindel v. Andino, 359 F. Supp. 3d 341, 358 (D. S.C. 2019);

Shelby County Advocates for Valid Elections v. Hargett, 2019 WL 4394754

(W.D. Tenn. Sep. 13, 2019).

   B. Plaintiffs’ claims are neither fairly traceable to Defendants nor
      redressable by this Court.

      Plaintiffs also cannot “fairly trace” their injury to State Defendants, nor

is their injury likely to be redressed by a favorable decision in this case.

Traceability is established if it is “likely that the injury was caused by the

conduct complained of and not by the independent action of some third party

not before the court.” Friends of the Earth, Inc. v. Gaston Copper Recycling

Corp., 204 F. 3d 149, 154 (4th Cir. 2000) (citing Lujan, 504 U.S. at 561). An

injury is redressable if it is “likely, as opposed to merely speculative, that the

injury will be redressed by a favorable decision.” Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 181 (2000).

      Plaintiffs’ BMD allegations make plain that, to the extent any injuries

arise, those injuries are the result of third-party actions, not the actions of

State Defendants. The theoretical hacking, potential auditing issues, and


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hypothetical bar-code problems could be traced either to illegal hacking by

third parties; improper conduct by election officials; or voters’ failures to

verify their paper ballots—not the State of Georgia's implementation of

BMDs. Optical scanners record a BMD-marked ballot in the exact same

manner as a hand-marked ballot, and it is only interference from third

parties that creates any potential constitutional injury to Plaintiffs. For this

same reason, Plaintiffs also cannot show redressability, because the same

concerns allegedly associated with BMDs (lack of audits, hacking, and

interference from election officials) are present in Plaintiffs’ requested relief.

Plaintiffs’ speculation that their preferred balloting system would eliminate

potential third-party interference ignores the reality “that the possibility of

electoral fraud can never be completely eliminated, no matter which type of

ballot is used.” Weber v. Shelley, 347 F.3d 1101, 1106 (9th Cir. 2003)

(emphasis in original). Accordingly, Plaintiffs’ claims regarding the BMDs

should be dismissed for lack of standing.

      Immunity bars Curling Plaintiffs’ declaratory judgment claim;
      regardless, a Georgia court is the proper forum for this claim.

      Curling Plaintiffs, in their Amended Complaint, request a declaratory

judgment from this Court “that the Proposed Election System violates Act

No. 24, H.B. 316.” [Doc. 627 ¶ 140]. The Eleventh Amendment and sovereign


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immunity bar this claim, however. Even if the Court determines that

immunity does not bar Curling Plaintiffs’ claim, the proper forum for Curling

Plaintiffs’ declaratory judgment claim is in Georgia’s state courts. Curling

Plaintiffs’ declaratory judgment claim must be dismissed.

   A. The Eleventh Amendment and sovereign immunity bar Curling
      Plaintiffs’ declaratory judgment claim.

      Curling Plaintiffs’ declaratory judgment claim is barred by the

Eleventh Amendment. The claim is one against the State of Georgia and is

premised on an alleged violation of state—not federal—law, and thus does

not fall within the Ex Parte Young exception. Moreover, “sovereign immunity

of the States neither derives from, nor is limited by, the terms of the

Eleventh Amendment,” Alden v. Maine, 527 U.S. 706, 713 (1999), therefore

regardless of the text and thrust of the Eleventh Amendment itself, the

sovereign immunity of the state bars Plaintiffs’ claim here.

      The Eleventh Amendment generally bars claims against the State

Defendants in their official capacities. See Kentucky v. Graham, 473 U.S. 159,

169 (1985). While Ex Parte Young provides for an exception to Eleventh

Amendment immunity, it does so only for prospective injunctive relief

grounded in a violation of federal law. See Pennhurst State School & Hosp. v.

Halderman, 465 U.S. 89, 105–106 (1984). This is for good reason: “Ex Parte


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Young was the culmination of efforts by [the] Court to harmonize the

principles of the Eleventh Amendment with the effective supremacy of rights

and powers secured elsewhere in the Constitution.” Pennhurst, 465 U.S. at

105 (quoting Perez v. Ledesma, 401 U.S. 82, 106 (1971) (Brennan, J.,

concurring in part and dissenting in part)). In other words, “the Young

doctrine rests on the need to promote the vindication of federal rights,” and is

“inapplicable in a suit against state officials on the basis of state law.” Id. at

105–106 (emphasis added).

      Similar to the claim at issue in Pennhurst, Curling Plaintiffs’

declaratory judgment claim has no basis in federal law and thus satisfies

neither the confines of precedent nor the purpose of Ex Parte Young. In

Pennhurst, the plaintiffs’ claims before the Supreme Court rested entirely on

state law—the Third Circuit had applied Ex Parte Young to enforce an

injunction against the defendants for a pendent state law claim. 465 U.S. at

95–96. The Supreme Court reversed, noting that “it is difficult to think of a

greater intrusion on state sovereignty than when a federal court instructs

state officials on how to conform their conduct to state law” and therefore

holding that Ex Parte Young is “inapplicable in a suit against state officials

on the basis of state law.” Id. at 106. Just as the claims before the Supreme

Court in Pennhurst had no basis in federal law, Plaintiffs’ declaratory
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judgment claim also vindicates no federal right. Instead, Count V of Curling

Plaintiffs’ Amended Complaint focuses only on the text of Act No. 24, H.B.

316, and arguments regarding the Proposed Elections System’s compliance

with that state law. Accordingly, Curling Plaintiffs’ declaratory judgment

claim must be dismissed.

      Since Ex Parte Young is inapplicable, the sovereign immunity of the

state will operate to bar Plaintiffs’ declaratory judgment claim absent some

other congressional abrogation of that immunity or waiver by the state.

There is simply no congressional abrogation applicable to this claim. Curling

Plaintiffs identify no congressional abrogation, and no congressional act is

applicable because, again, the claim is rooted only in state law. Seminole

Tribe of Florida v. Florida, 517 U.S. 44, 55 (1996) (quoting Green v. Mansour,

474 64, 68 (1985)).

      A state’s consent to suit and waiver of its sovereign immunity is subject

to a stringent test; it must be unequivocally expressed in the text of the

relevant statute and may not be implied. Sossamon v. Texas, 563 U.S. 277,

284 (2011). The Supreme Court has noted that “‘[o]nly by requiring this clear

declaration’ by the State can we be ‘certain that the State in fact consents to

suit.’” Id. (citing College Savings Bank v. Florida Postsecondary Ed. Expense

Bd., 527 U.S. 666, 675 (1999)).
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      Here, no waiver of immunity exists. The “sweep of sovereign immunity

under the Georgia Constitution is broad.” Olvera v. University System of

Georgia Bd. of Regents, 298 Ga. 425, 426 (2016). Pursuant to Ga. Const. Art.

I, Sec. II, Para IX(e), “only the General Assembly has the authority to waive

the State’s sovereign immunity.” Georgia Dept. of Natural Resources v. Center

for a Sustainable Coast, Inc, 294 Ga. 593, 599 (2014). That the claim is for

declaratory relief, as opposed to damages, does not prevent the application of

sovereign immunity. See Olvera, 298 Ga. at 426–427. Nor does it make a

difference that the claim is alleged against State Defendants in their official

capacities. See Lathrop v. Deal, 301 Ga. 408 (2017). Under Georgia law, any

waiver of immunity by the State must be present in the State Constitution

itself or be provided by an act of the General Assembly. Lathrop, 301 Ga. at

425 (quoting SJN Properties, LLC v. Fulton County Bd. of Assessors, 296 Ga.

793, 799 (2015)). Simply put, no waiver exists for Plaintiffs’ claim under the

Georgia Constitution or Official Code of Georgia. 18




18Removal to federal court provides no basis for waiver either. See Stroud v.
McIntosh, 722 F.3d 1294, 1303 (11th Cir. 2013) (explaining that even where
consent to forum may exist, a state can still retain its sovereign immunity).
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   B. The proper forum for Curling Plaintiffs’ declaratory judgment claim is
      in Georgia state courts, not this Court.

      Even if the Court decides immunity does not bar the declaratory

judgment claim, Curling Plaintiffs’ claim can find a jurisdictional fit in this

Court only as a matter of the Court’s supplemental jurisdiction. The claim

asserts no issues arising under federal law and there is no diversity of the

parties, which confers jurisdiction only where the Court otherwise has

original jurisdiction. Accordingly, since Plaintiffs’ other claims conferring

original jurisdiction must be dismissed, the Court lacks subject matter

jurisdiction over Curling Plaintiffs’ declaratory judgment claim. 28 U.S.C. §

1367(c)(3); see also L.A. Draper & Son v. Wheelabrator-Frye, Inc., 735 F.2d

414, 428 (11th Cir. 1984). Moreover, even if this Court finds that

supplemental jurisdiction permits consideration of this claim, the State’s

sovereign immunity still necessitates its dismissal. Raygor v. Regents of Univ.

of Minnesota, 534 U.S. 533, 541–42 (2002) (holding supplemental jurisdiction

does not abrogate Eleventh-Amendment immunity).

      Plaintiffs’ requested relief violates federal law.

      Both Title II of the Americans with Disabilities Act (“ADA”) and

Section 504 of the Rehabilitation Act prohibit discrimination against people

with disabilities. Title II of the ADA provides that “no qualified individual


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with a disability shall by reason of such disability be excluded from

participation in or denied the benefits of the services, programs, or activities

of a public entity, or be subjected to discrimination by any such entity.” 42

U.S.C. § 12132. In enacting the ADA, Congress concluded that there was a

“compelling need” for a “clear and comprehensive national mandate” to both

eliminate discrimination and to integrate disabled individuals into the social

mainstream of American life. 42 U.S.C. § 12101(a)(5).

      The Help America Vote Act (“HAVA”) also requires the state to provide

persons with disabilities access to voting technology that provides them with

the means to vote in private and independently “through the use of at least

one direct recording electronic voting system or other voting system equipped

for individuals with disabilities at each polling place.” 52 U.S.C. §

21081(a)(3). These federal laws require that disabled individuals receive an

opportunity to participate that is equal to that afforded to others. See Nat'l

Federation of the Blind v. Lamone, 813 F.3d 494, 506 (4th Cir. 2016); see also

28 C.F.R. § 35.130(b)(1)(ii). Specific to elections, requiring blind and visually

impaired individuals to vote with the assistance of a third party, for example,

at best provides these individuals with a voting experience not equal to that

afforded others. Cal. Council of the Blind v. Cty. of Alameda, 985 F. Supp. 2d

1229, 1239 (N.D. Cal. 2013); see also Lamone, 813 F.3d at 506.
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      Here, Plaintiffs’ legal theory is that any use of BMDs by the general

public is unconstitutional and necessitates this Court’s intervention.

Purporting to account for protections for disabled voters, Plaintiffs call for

hand-marked ballots with one BMD at each precinct for use by disabled

individuals. Plaintiffs requested relief thus requires this Court to force some

of our country’s most vulnerable voters to use a voting system the Court has

deemed unconstitutional. At minimum, Plaintiffs’ theory would run afoul of

HAVA and ADA, requiring the Georgia’s disabled voters, relegated to a

position of “political powerlessness in our society,” Tennessee v. Lane, 541

U.S. 509, 516 (2004), a sharply disparate means of voting that Plaintiffs

claim would place those voters’ actual votes and private information at risk of

harm. At its worst, Plaintiffs’ theory asserts that it is permissible for disabled

voters to use an unconstitutional elections system that is insufficient for the

general populace, raising obvious Equal Protection Clause concerns.

      Respectfully submitted, this 25th day of October, 2019.

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